Case 8:15-cv-00865-DOC-SHK Document 806-1 Filed 10/28/20 Page 1 of 3 Page ID
                                #:36532



   1
   2
   3
   4
   5
   6
   7
                            UNITED STATES DISTRICT COURT
   8
                           CENTRAL DISTRICT OF CALIFORNIA
   9
                                 SOUTHERN DIVISION
  10
     HSINGCHING HSU, Individually and       )   Case No. 8:15-cv-00865-DOC-SHK
  11 on Behalf of All Others Similarly      )
     Situated,                              )   CLASS ACTION
  12                                        )
                              Plaintiff,    )   [PROPOSED] ORDER ADOPTING
  13                                        )   PLAINTIFFS’ SCHEDULE AND
            vs.                             )   PROCESS FOR CHALLENGING
  14                                        )   VALIDATED CLAIMS MADE BY
     PUMA BIOTECHNOLOGY, INC., et           )   CLASS MEMBERS
  15 al.,                                   )
                                            )
  16                          Defendants.   )
                                            )
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

       4833-6248-9296.v1
Case 8:15-cv-00865-DOC-SHK Document 806-1 Filed 10/28/20 Page 2 of 3 Page ID
                                #:36533



   1            Having considered the parties briefing and argument regarding the schedule and
   2 process for challenging validated claims made by class members, the Court ORDERS
   3 as follows:
   4            Within 30 days of entry of this Order, Defendants shall identify:
   5            1.         The claims Defendants are not challenging (Group 1);
   6            2.         The claims Defendants are challenging and the specific basis for the
   7 challenge(s) (Group 2); and
   8            3.         The claims Defendants contend they need additional information about in
   9 order to assess the claim, including the specific information Defendants contend they
  10 need and why the information already provided by the claimant and claims
  11 administrator is insufficient (Group 3).
  12            For Group 1: Within 30 days of Defendants identifying the claims they are not
  13 challenging, Plaintiffs shall file a proposed judgment for those claims.
  14            For Group 2: Counsel for the parties shall meet and confer regarding the basis
  15 for Defendants’ challenge(s) to each claim. Within 30 days of identifying the claims
  16 in Group 2, if counsel for the parties are unable to resolve disputes regarding any
  17 challenged claims, Defendants shall file a motion to exclude the disputed claims,
  18 including for each claim the basis for the requested exclusion. Plaintiffs shall have 30
  19 days to respond to Defendants’ motion and Defendants shall have 15 days thereafter
  20 to file a reply.
  21            For Group 3: Counsel for the parties shall meet and confer regarding the
  22 specific information Defendants contend they need in order to assess the claim. If the
  23 parties are unable to reach an agreement, within 30 days of identifying the claims in
  24 Group 3, Defendants may file a motion for leave to amend the Final Pretrial Order
  25 pursuant to Federal Rule of Civil Procedure 16 to seek discovery. Any such motion
  26 must identify the specific discovery, on a claim-by-claim basis, that Defendants seek
  27
  28
                                                     -1-
       4833-6248-9296.v1
Case 8:15-cv-00865-DOC-SHK Document 806-1 Filed 10/28/20 Page 3 of 3 Page ID
                                #:36534



   1 leave to serve. Plaintiffs shall have 21 days to respond to Defendants’ Rule 16 motion
   2 and Defendants shall have seven days thereafter to file a reply.
   3            IT IS SO ORDERED.
   4    DATED:
   5                                      THE HONORABLE DAVID O. CARTER
                                          UNITED STATE DISTRICT JUDGE
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                              -2-
       4833-6248-9296.v1
